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                                               April 20, 2020
VIA ECF
The Honorable Edward S. Kiel, U.S.M.J.
U.S. District Court for the District of New Jersey
Martin Luther King Jr. Bldg. & U.S. Courthouse
50 Walnut Street
Newark, New Jersey 07101

         Re:     ACP GP, LLC et al. v. Motivational Coaches of America, Inc., et al.
                 Docket No. 2:18-cv-13147

Dear Judge Kiel:

        This firm represents plaintiffs, ACP GP, LLC and Alleon Capital Partners, LLC
(“Plaintiffs”) in connection with the above-referenced action. Pursuant to the Court’s Order dated
April 6, 2020 (the “Case Management Order”), we write in opposition to defendant, Julio Avael’s
letter dated February 20, 2020. (Dkt. No. 52) seeking to stay discovery in this action pending the
resolution of certain motions he has filed with the Court. For the reasons set forth below, Plaintiffs
respectfully submit that the motion should be denied.

    I.         DISCOVERY WAS ALREADY ORDERED TO PROCEED AND NO
               DISPOSITIVE MOTIONS ARE PENDING BEFORE THE COURT

        Defendant’s request for a stay of discovery was considered by the Court during the
conference before Your Honor on January 29, 2020. The Court considered Defendant’s request
and determined that the exchange of written discovery should proceed. See Hr’g Tr. 17:20-22
(“Generally cases are not what’s called ‘stay[ed].’ They don’t freeze and nothing happens to them
because motions to dismiss are pending.”); see also Hr’g Tr. 27:2-10 (“I will also permit the
plaintiff to issue a [written] discovery request to [Defendant] by February 28…And that’s what
the discovery will be up until this point”). Consistent with Your Honor’s direction, Plaintiffs
served written discovery requests on Defendant on February 28, 2020, responses to which were
originally due on March 30, 2020. Following the status conference on April 6, 2020, wherein
Defendant again maintained that discovery should not proceed in this matter, the Court entered the
Case Management Order directing that responses to written discovery shall be due on May 7, 2020.

       Notwithstanding the above, Defendant contends that, because there are pending motions,
discovery must be stayed until those motions are resolved. On March 2, 2020, the Court entered
an Order vacating Defendant’s default and denying all other relief sought in Defendant’s “Motions
and Motion to Set Aside Clerk’s Entry of Default and Motion to Dismiss” filed on January 13,
2020. (Dkt. No. 54). Thus, that motion has been disposed. Moreover, contrary to the suggestion
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appearing throughout Defendant’s correspondence, there is no pending motion to dismiss in this
case. Defendant’s initial motion to dismiss was denied and the Court afforded Defendant a
mechanism to reinstate that motion. Defendant did not avail himself of that opportunity and
instead, on December 16, 2019, he filed a motion seeking to set aside the Court’s Order denying
the motion to dismiss, which Plaintiffs opposed. 1 There are therefore no dispositive motions
pending before the Court and only Defendant’s motion to set aside prior orders and this request to
stay discovery remain undecided.

    II.    PERSONAL JURISDICTION AND SERVICE OF PROCESS

        Defendant devotes substantial portions of his February 25, 2020 letter to recycled
arguments that this Court cannot exercise personal jurisdiction over him and that he was not
properly served in this matter.2 As set forth in greater detail in Plaintiffs’ opposition to
Defendant’s original motion to dismiss (Dkt. No. 28), these arguments are baseless. Defendant
personally guaranteed amounts due to Plaintiff pursuant to certain financing agreements entered
into as between Plaintiffs and the defendant entities, which Defendant controlled at all relevant
times. The financing agreements and the guarantee Defendant executed contained forum selection
clauses in favor of New Jersey. Ignoring that that financing agreements and Defendant’s guarantee
are governed by New Jersey law and contain forum selection clauses requiring claims be
adjudicated in New Jersey Defendant makes an absurd contention accusing Plaintiffs of forum
shopping, engaging in “procedural gamesmanship,” and attempting to “game the system” by filing
suit in New Jersey. For all of Defendant’s inflammatory accusations against Plaintiffs, Plaintiff’s
counsel, and this Court, not one of Defendant’s applications to the Court disputes that he signed
the guarantee and that the guarantee contains a forum selection clause in favor of New Jersey.

        Defendant continues to maintain that he was not properly served in this matter. Of course,
this issue is moot as Judge Falk’s January 11, 2019 Order deemed service as having been
effectuated by mail on December 12, 2018 because Defendant had been evading service by the
process server. (Dkt. No. 18). Defendant was free to appeal that Order to the District Judge, or, as
he has done with recent Orders, to seek reconsideration. He did not do so. Accordingly,
Defendant’s repeated challenges to service are improper.

        Nevertheless, in the event that Defendant’s motion for reconsideration is granted – which,
for the reasons set forth in Plaintiffs’ opposition, Plaintiffs respectfully submit that it should not –
Defendant is free to raise any and all such arguments as they pertain to this Court’s exercise of


1
  As Plaintiffs explained in their opposition to that motion, Defendant’s motion to reconsider
pursuant to Fed. R. Civ. P. 60 is improper because, inter alia: (1) the proper procedural mechanism
to seek reconsideration would have been Local Civil Rule 7.1(i); (2) even had Defendant moved
pursuant to Local Civil Rule 7.1(i), such a request would have been untimely; and (3) Defendant
has failed to meet the high bar for reconsideration. (Dkt. No. 46).
2
  Defendant’s initial motion to dismiss featured arguments pertaining to personal jurisdiction,
which were then omitted from his January 13, 2020 motion. Now, Defendant raises those
arguments once again.
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personal jurisdiction over him. In the meantime, as Your Honor has ordered, discovery should
proceed and Defendant’s request to stay discovery should be denied.

   III.      PLAINTIFFS HAVE SUFFERED, AND WILL CONTINUE TO SUFFER,
             PREJUDICE AS A RESULT OF DEFENDANT’S DELAY

       Defendant claims that Plaintiffs will not be prejudiced by a stay of discovery. This is belied
by the history of Plaintiffs’ requests for equitable relief based upon credible concerns as to the
status of their collateral and the receivables they purchased from the entities controlled by
Defendant and which Defendant personally guaranteed. Those concerns were placed on the record
during the January 29, 2020 conference. Defendant contends that a stay of discovery would not
provide a tactical advantage to him, nor would it provide a tactical disadvantage to Plaintiffs. Not
so. Indeed, the sole beneficiary of a discovery stay is Defendant, who is the primary source of
information relating to the disposition of funds from businesses he controls. As Plaintiffs have
explained, Plaintiffs have serious concerns as to the whereabouts of those monies, which amounts
now exceed $750,000.00, with interest continuing to accrue. The absence of this information has,
and will continue to, severely prejudice Plaintiffs’ interests.

   IV.       CONCLUSION

       Based on all of the foregoing, Plaintiffs respectfully request that Defendant’s informal
motion to stay discovery be denied.

                                                      Respectfully submitted,

                                                      s/ Stephen V. Falanga
                                                      Stephen V. Falanga



CC:       Julio Avael (via Email and Regular Mail)
